           Case 1:20-cv-00688-JL Document 31 Filed 09/04/20 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE

Libertarian Party of New Hampshire, et al.

      v.
                                           Case No. 20-cv-688-JL
Governor, State of NH, et al.



                                    JUDGMENT


      Judgment is hereby entered in accordance with the Orders of Judge

Joseph N. Laplante dated July 28, 2020 and August 20, 2020.

      The prevailing party may recover costs consistent with Fed. R.

Civ. P. 54(d) and 28 U.S.C. § 1920.


                                           By the Court:

                                           /s/Tracy A. Uhrin
                                           _________________________
                                           Tracy A. Uhrin
                                           Chief Deputy Clerk

Date: September 4, 2020

cc:   H. Jonathan Meyer, Esq.
      Daniel E. Will, Esq.
      Laura E.B. Lombardi, Esq.
      Sean R. Locke, Esq.
